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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 0:18-cv-62086-WPD

  DEBORAH LAUFER,

                     Plaintiff,

  v.

  THE CATO CORPORATION,

                     Defendant.

                                                         /

                        DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE
                     IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

                                          INTRODUCTION
          Defendant’s Motion to Dismiss (DE 18 (“Defendant’s Motion”)) is straightforward,

  relying on Eleventh Circuit precedent in arguing for the dismissal of Plaintiff’s Complaint based

  on its failure to allege a nexus between an intangible barrier and a public place of accommodation.

  Plaintiff’s 12-page Opposition Brief (DE 19 (“Plaintiff’s Brief” or “Opposition Brief”)) is, for the

  most part, non-responsive to Defendant’s Motion. While she does argue briefly (and incorrectly)

  that she sufficiently plead her claim, Plaintiff dedicates the majority of her Opposition Brief to

  analysis of law in other circuits and to presenting her own statutory interpretation of the ADA,

  which contradicts that of the Eleventh Circuit. Although she asks the Court to ignore binding

  precedent, Plaintiff presents the Court with no authority supporting her request for this significant

  departure.

          Plaintiff argues she has “clearly established” the nexus between Defendant’s website and

  its brick-and-mortar locations but fails to demonstrate how this is the case. Plaintiff’s Complaint,

  on its face, fails to establish the requisite nexus, and the Court should reject Plaintiff’s efforts to



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  establish this nexus through the Opposition Brief itself, specifically its conclusory statements and

  reference to information outside of the Complaint.

          For the reasons stated herein and in Defendant’s Motion, the Court should dismiss

  Plaintiff’s Complaint.

  I.      THE ELEVENTH CIRCUIT REQUIRES PLAINTIFF TO ALLEGE A NEXUS
          BETWEEN DEFENDANT’S WEBSITE AND ITS RETAIL STORES.

          Two Eleventh Circuit decisions—Rendon v. Valleycrest Prods., Ltd., 294 F.3d 1279 (11th

  Cir. 2002) and Haynes v. Dunkin’ Donuts, LLC, No. 18-10373, 2018 U.S. App. LEXIS 21126

  (11th Cir. 2018)—provide guidance on whether intangible barriers, such as the accessibility of a

  website, constitute discrimination under Title III of the ADA. In Rendon, the Eleventh Circuit

  held that the ADA’s prohibition on discrimination is not limited to “tangible barriers, that is,

  physical and architectural barriers,” but can also apply to “intangible barriers … that restrict a

  disabled person’s ability to enjoy the defendant entity’s goods, services and privileges.” 294 F.3d

  at 1283. Thus, Rendon established the requirement of a nexus between the intangible barrier and

  the enjoyment of a place of public accommodation in order to state a claim the intangible barrier

  violates Title III of the ADA. Id. at 1283, 1286, n.8. Importantly, Rendon “[did] not establish that

  a virtual space like a website is necessarily covered, especially when the claimed denial of equal

  access is altogether unmoored from a physical space.” Haynes v. UPS, No. 17-62057, 2018 U.S.

  Dist. LEXIS 18518, at *7-8 (S.D. Fla. Feb. 2, 2018) (Dimitrouleas, J.).

          More recently, in Dunkin’ Donuts, the Eleventh Circuit applied Rendon in considering

  whether a plaintiff’s Title III complaint alleged sufficient facts to establish a nexus between a

  defendant’s website and its place of public accommodation. In that case, the court held the plaintiff

  alleged sufficient facts to establish such a nexus between Dunkin’ Donuts’ website and its physical

  stores. 2018 U.S. App. LEXIS 21126, at *5. However, in reaching its decision, the Eleventh


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  Circuit expressly relied on plaintiff’s allegations that Dunkin’ Donuts’ website allowed customers

  to locate physical store locations and purchase gift cards online and that the plaintiff was unable

  to utilize those features. Id. at *4-5. Here, Plaintiff’s Complaint lacks such specific allegations

  establishing the requisite nexus.

          In light of the Eleventh Circuit’s decisions in Rendon and Dunkin’ Donuts and the plethora

  of decisions from district courts in this circuit1, a nexus between Defendant’s website and its retail

  stores “is obviously a requirement.” Price v. Everglades Coll., Inc., No. , 2018 U.S. Dist. LEXIS

  117629, at *4-5 (M.D. Fla. July 16, 2018) (emphasis added); see also Gomez v. Gen. Nutrition

  Corp., 323 F. Supp. 3d 1368, 1375 (S.D. Fla. Aug. 29, 2018) (“[C]ourts agree a nexus is

  necessary….”). Even Plaintiff readily admits that an individual must allege a nexus between a

  website and a place of public accommodation to state a claim that a website violates Title III of

  the ADA.2 However, as addressed in Sections II and III below, Plaintiff argues she has alleged

  sufficient facts to establish such a nexus and that the Eleventh’s Circuit’s requirement of a nexus

  is an erroneous interpretation of the ADA. As demonstrated below, Plaintiff’s arguments are both

  incorrect and improper, and her Complaint should be dismissed.

  II.     PLAINTIFF IMPROPERLY PRESENTS MATTERS BEYOND THE PLEADINGS
          IN AN EFFORT TO MEET THE NEXUS REQUIREMENT.




  1
    Defendant’s Motion cites several district court decisions dismissing ADA claims for failing to
  sufficiently allege a nexus between the defendant’s website and physical place of accommodation.
  (See DE 18, pp. 4-6).
  2
    See, e.g., Opp. Br., p. 3 (“The 11th Circuit has determined that a complaint which alleges a
  website denies blind people the ability to enjoy the goods, services, privileges, and advantages of
  a store … has established a plausible claim for relief under the ADA, as it establishes the website
  is a service that facilitates the use of [ ] shops, which [are] places of public accommodation.”);
  Opp. Br., p. 8 n.2 (“It must be noted that the decision in Haynes … applied the Rendon analysis
  and held that the complaint satisfied it because it sufficiently alleged a nexus.”).

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          Perhaps realizing the allegations in her Complaint are fatally deficient, Plaintiff’s

  Opposition Brief goes beyond the factual allegations in the Complaint in an attempt to sufficiently

  establish a nexus between Defendant’s website and its retails stores. Plaintiff states, without any

  citation:

                     Defendant’s website … is heavily integrated with Defendant’ [sic]
                     physical store locations, and operates as a gateway to the stores, all
                     of which has been alleged in the Complaint. The website permits its
                     patrons to obtain information about store locations, find items on
                     clearance or sale, obtain gift cards and coupons per the viewer’s
                     choice, all of which are part of the goods, services, accommodations,
                     privileges, benefits, and facilities available to its patrons.

  (Opp. Br., p. 5). Not a single one of these allegations is in Plaintiff’s Complaint. Consequently,

  the entirety of Plaintiff’s “sufficiency” argument relies on matters beyond the pleadings.

  Plaintiff’s attempt to present and rely on matters outside the pleadings here is unequivocally

  improper, as “a court may only examine the ‘four corners’ of the complaint and any matters

  incorporated therein, and not matters outside the complaint” on a Rule 12(b)(6) motion to dismiss.

  Flamenbaum v. Orient Lines, Inc., No. 03-cv-22549, 2004 U.S. Dist. LEXIS 14718, at *12 (S.D.

  Fla. Jul. 28, 2004).

          Only Paragraphs 5, 8, and 14 of the Complaint make any effort—here, an insufficient

  effort—to connect Defendant’s purportedly inaccessible website to the enjoyment of its retail

  stores. Those paragraphs generically state that Defendant operates the website and that the website

  provides certain information about, and is an extension of, Defendant’s public accommodation.

  (DE 1, ¶¶ 5, 8, 14). Here, the fact that Defendant’s website provides information about its physical

  locations is not enough to establish a nexus between the website and physical stores. See Gen.

  Nutrition, 323 F. Supp. 3d at 1376.           Indeed, “district courts in the Eleventh Circuit have

  distinguished between an inability to use a website to gain information about a physical location



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  and an inability to use a website that impedes access to enjoy a physical location, holding that the

  former is insufficient to state a claim.” Id.; see also Everglades, 2018 U.S. Dist. LEXIS 117629,

  at *5 (“Here, the Defendant correctly argues that ‘an inability to gain information about the

  physical location does not adequately allege that his inability to access the Website impedes his

  access to enjoy the physical [location].’”).

          Plaintiff has done nothing more than simply state Defendant’s website provides

  information about, and is an extension of, its brick-and-mortar stores. Plaintiff does not allege a

  single fact explaining how her purported inability to access the information on Defendant’s website

  impedes her enjoyment of Defendant’s retail stores. Plaintiff’s threadbare allegations that merely

  assert some connection between Defendant’s website and its retail stores is insufficient to establish

  the requisite nexus and survive Defendant’s Motion to Dismiss.

  III.    PLAINTIFF IMPROPERLY ASKS THIS COURT TO DISREGARD ELEVENTH
          CIRCUIT PRECEDENT IN ARGUING A CONTRARY INTERPRETATION OF
          THE ADA.

          Despite acknowledging the Eleventh Circuit’s decisions in Rendon and Dunkin’ Donuts,

  holding that a nexus between a website and a public accommodation is required, Plaintiff

  inexplicably dedicates six pages of her Opposition Brief to arguments of statutory construction

  and interpretation to support her position that the ADA contains no nexus requirement. (See Opp.

  Br., pp. 6-11). This Court is bound to follow Eleventh Circuit precedent requiring this nexus. In

  re Managed Care Litig., 135 F. Supp. 2d 1253, 1267 (S.D. Fla. 2001) (“It is the duty of this Court

  to follow controlling Eleventh Circuit precedent unless there is a direct Supreme Court case on the

  particular issue in question holding to the contrary.”). Because Plaintiff cites to no authority that

  would permit this Court to depart from Eleventh Circuit precedent in the manner it requests,

  Defendant respectfully ask the Court to disregard Plaintiff’s arguments regarding statutory



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  construction and interpretation in their entirety and dismiss Plaintiff’s Complaint for failure to

  allege the requisite nexus. See, e.g., In re Rexall Sundown, Inc., No. 98-8798, 2000 U.S. Dist.

  LEXIS, at *17 (S.D. Fla. Mar. 29, 2000) (Dimitrouleas, J.) (following Eleventh Circuit precedent

  on the pleading standard and dismissing plaintiff’s complaint for failing to plead facts with

  sufficient particularity).

  IV.     PLAINTIFF MISCONSTRUES DEFENDANT’S ARGUMENT REGARDING
          PLAINTIFF’S ALLEGED ATTEMPTS TO ACCESS DEFENDANT’S WEBSITE.

          Finally, Plaintiff claims that “Defendant also raises an argument regarding ties, visits and

  intention of visits to the Defendant’ [sic] stores, in the past or in the future, alleging that allegations

  of future attempts at utilization of the website are insufficient unless a claimant demonstrates first

  that the website has impeded access to a physical location.” (Opp. Br., p. 11).                   Plaintiff

  misconstrues Defendant’s argument. Defendant’s argument regarding “Plaintiff’s threadbare

  assertions that she ‘will continue to attempt to utilize the website’ or ‘desires to access the website

  to avail herself of the benefits, advantages, goods and services therein,’” (DE 18, p. 5), is an

  extension of Defendant’s position that Plaintiff has failed to allege a nexus. Indeed, it is of no

  moment whether Plaintiff continues to attempt to utilize Defendant’s website, or whether Plaintiff

  desires to access Defendant’s website, if Plaintiff’s Complaint does not tie the purportedly

  inaccessible website to her inability to enjoy a good, service, or privilege afforded by Defendant’s

  retail stores.




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                                            CONCLUSION

          For the reasons stated herein, and in Defendant’s Motion to Dismiss (DE 18), Defendant

  respectfully requests that the Court dismiss Plaintiff’s Complaint (DE 1) for failing to state a claim

  upon which relief can be granted.



  Dated: November 30, 2018.                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 30, 2018, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel and parties of record identified on the below Service List in the

  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or

  in some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.

                                                 By: /s/ Jennifer T. Williams
                                                         Jennifer T. Williams




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                                         SERVICE LIST

                              Deborah Laufer vs. The Cato Corporation
                                  Case No.: 0:18-cv-62086-WPD

                                    United States District Court
                                    Southern District of Florida


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